            CASE 0:20-cr-00150-NEB-BRT Doc. 74 Filed 02/11/21 Page 1 of 2


  Case 0:20-cr-00 I 50-NEB-BRT               Document 5                     Filed 02/04/21   Page   I of 2

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA

                                     cR. NO. 20-l so(l) (NEB/BRT)



UNITED STATES OF AMERICA.

                    Plaintiff,

                                                                    MOTION TO SUPPRESS
                                                                    EVIDENCE OBTAINED IN
                                                                    VIOLATION OFTHE FOURTH
   v.                                    i"t t \ x$?1               AMRNDMENT


GREGORY LYNN MCCOY
                                     *u*"S^rsl'^
                  Defendant.




    Defendant moves the Court pursuant to Rule 12 Federal Rules of Criminal Procedure for an Order

suppressing all physical evidence obtained as a result of a search and / or seizure, because the affidavit

supporting the search warrant for the residence on Sheridan Avenue North in Minneapolis was so

lacking in probable cause that no reasonable officer could have believed in good faith that the warrant

was valid or that it established proper nexus to search the house, and so all evidence discovered as a

result, including what was found in the house, what was found in the resulting search of the Dodge

Durango, and all other fruit of the poisonous tree must be suppressed.




                                                                                        SEANNED-
                                                                                        FEB 1 r nzl
            CASE 0:20-cr-00150-NEB-BRT Doc. 74 Filed 02/11/21 Page 2 of 2


  Case   0:20-cr-00150-NEB-BRT              Document 5                     Filed 02104121 Pase2 of2




      This motion is based on the indictment, records and files in the above entitled matter, and on any

and all other matters that may be presented prior to or at the time of the hearing on this motion.




          Dated February 4,2021




                                                                Respectfully submitted

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                                                                br?zf McCo),
                                                                /s/ Greeory L.
                                                                Sherburne County Jail      -
                                                                13880 Business Center Dr. NW
                                                                Suite 200
                                                                Elk River, MN. 55330
